 Case 3:18-md-02843-VC Document 991-11 Filed 08/15/22 Page 1 of 6




         EXHIBIT 115-B
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            Case 3:18-md-02843-VC Document 991-11 Filed 08/15/22 Page 2 of 6
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Facebook Inc
Consolidated Revenue Streams




                                    Revenue by Channel
            Case 3:18-md-02843-VC Document 991-11 Filed 08/15/22 Page 3 of 6
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            Case 3:18-md-02843-VC Document 991-11 Filed 08/15/22 Page 4 of 6
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                       Case 3:18-md-02843-VC Document 991-11 Filed 08/15/22 Page 5 of 6
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                                             Revenue Channel Definitions
                       Case 3:18-md-02843-VC Document 991-11 Filed 08/15/22 Page 6 of 6
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                                             Revenue Channel Definitions
